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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                  Case No.: 0:23-cv-61354-kmm



  PROGRESSIVE EXPRESS INSURANCE
  COMPANY,

                  Plaintiff,
  vs.

  RASIER-DC, LLC A FOREIGN
  LIMITED LIABILITY COMPANY;
  UBER TECHNOLOGIES, INC., A
  FOREIGN CORPORATION; AND
  KARINA MONASTERIO,
  INDIVIDUALLY,

                Defendants.
  _____________________________/

        DEFENDANTS UBER TECHNOLOGIES, INC. AND RASIER-DC, LLC’S
   NOTICE OF JOINDER AND ADOPTION OF PROGRESSIVE EXPRESS INSURANCE
     COMPANY’S MOTION TO FOR SUMMARY JUDGMENT AND REQUEST FOR
         DISMISSSAL OF PLAINTIFF MONASTERIO’S COUNTERCLAIM

         Defendants Uber Technologies, Inc. (“Uber”) and Rasier-DC, LLC (“Rasier”)

  (collectively “Defendants”), respectfully join in and adopt Defendant Progressive Express

  Insurance Company’s (“Progressive”) Motion for Summary Judgment and bearing service date

  January 25, 2024 [D.E. 30], and state as follows:


         K arina Monasterio sought uninsured/underinsured motorist coverage (“UM/UIM

  coverage”) to cover her injuries resulting from the May 6, 2022 accident involving nonparty

  Michael Israel, who upon information and belief, was determined to be at fault. As a result,

  Progressive Express Insurance Company filed the instant action on July 17, 2024, seeking

  declaratory judgment that the at-issue policy does not provide UM/UIM coverage and that such
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  benefits are not available in connection with any of the claims arising from the May 6, 2022

  incident, inter alia. [See D.E. 1, 12; Complaint, Amended Complaint]


          On January 25, 2024, Progressive filed a Motion for Summary Judgment and Dismissal

  of Monasterio’s counterclaim. Defendants Uber and Rasier adopt, join and incorporate as if fully

  set forth herein, the arguments and legal authority advanced by Progressive including the request

  for a declaration that:


              (i)    Florida’s TNC Statute, Fla. Stat. § 627.748 did not preclude an insured from

              rejecting or an insurer from providing UM/UIM coverage;


              (ii)   the insurance policy issued by Progressive did not provide UM/UIM coverage;


              (iii) the insurance policy issued by Progressive did not insure a specifically

              identifiable automobile, generally or that operated by Monasterio;


              (iv) the insureds rejected UM/UIM coverage;


              (v) the statutory obligations under either Fla. Stat. § 627.727(1) were satisfied; and,

              therefore,


              (vi) the insurance policy issued by Progressive does not provide UM/UIM coverage

              for the claims presented by Monasterio in connection with or arising from her May 6,

              2022 incident or her previously filed lawsuit.


          Defendants Uber and Rasier certify that they have no opposition with positions raised in

  Progressive’s Motion for Summary Judgment.




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                                           CONCLUSION


         WHEREFORE, Defendants, Uber and Rasier, hereby join in Defendant Progressive’s

  Motion for Summary Judgment and respectfully request an order: (i) granting Progressive’s

  Motion with respect to its declaratory judgment; (ii) dismissing all claims asserted against Uber

  and Rasier in connection with Monasterio’s counterclaim in their entirety and with prejudice;

  and/or (iii) for whatever other relief this Court deems just and proper.




  Dated: January 25, 2023                       Respectfully submitted,


                                                /s/ Veresa Jones Adams
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                                                Atto rneys fo r Uber Techno lo gies, Inc. and Raiser-
                                                DC, LLC

                                        Certificate of Service


         The undersigned hereby certifies that a true and correct copy of the foregoing has been

  furnished electronically on this 25th day of January 2023, with the Clerk of the Court using

  CM/ECF. I also certify that the foregoing document is being served this day on all counsel of

  record via transmission of Notice of Electronic Filing generated by CM/ECF.



                                                /s/ Veresa Jones Adams
                                                VERESA JONES ADAMS, ESQ.


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